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                    2:21-cv-00310-JRG (Lead) and 2:21-cv-309-JRG (Member)
                    TQ Delta LLC v CommScope Holding Company Inc et al
              September 1, 2022 at 09:00 AM (Meet and Confer) and 1:30 PM (Hearing)
                                     Motion(s) Hearing
PLEASE PRINT CLEARLY:
               ATTORNEY NAME                                        REPRESENTING

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IF YOUR CLIE TS ARE PRESENT, PLEASE PROVIDE NAME AND/OR COMPANY
or RELATIONSHIP:
                    CLIENT NAME                               CO PANY or RELATIONSHIP
